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                              UNITED STATES DISTRICT COURT
                           FOR THE SOUTHERN DISTRICT OF FLORIDA
                                   Case No. 24-cv-20805-KMM

      YA MON EXPEDITIONS, LLC, BLUEBERRY
      ENTERPRISES, LLC, MAGNA CHARTA,
      LLC, PRIDE CONTRACTING, INC., KIP
      LAMAR SNELL, and JUAN GALAN,
      Individually and on Behalf of All Others
      Similarly Situated,

                                Plaintiffs,

             v.

      ALLIED MARINE, INC., GALATI YACHT
      SALES, LLC, HMY YACHT SALES, INC.,
      MARINEMAX, INC., NORTHROP &
      JOHNSON YACHTS-SHIPS, LLC, FRASER
      YACHTS FLORIDA, INC., FRASER YACHTS
      CALIFORNIA CORPORATION,
      MARINEMAX EAST, INC., ONEWATER
      MARINE INC., DENISON YACHTS
      INTERNATIONAL, LLC, YACHTING
      ASSETS AND OPERATIONS LLC, UNITED
      YACHT SALES, LLC, INTERNATIONAL
      YACHT BROKERS ASSOCIATION, INC.,
      YACHT BROKERS ASSOCIATION OF
      AMERICA, INC., CALIFORNIA YACHT
      BROKERS ASSOCIATION, INC.,
      NORTHWEST YACHT BROKERS
      ASSOCIATION, BOATS GROUP, LLC,
      PERMIRA ADVISERS LIMITED, PERMIRA
      ADVISERS LLC, and YATCO, LLC
                        Defendants.



          DEFENDANT MARINEMAX EAST, INC.’S CORPORATE DISCLOSURE
                              STATEMENT

          Defendant MarineMax East, Inc., by and through its undersigned counsel, and pursuant to

   Federal Rule of Civil Procedure 7.1, hereby files this Corporate Disclosure Statement, and makes

   the following disclosures:
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                           CORPORATE DISCLOSURE STATEMENT

          Defendant MarineMax East, Inc. is a wholly-owned subsidiary of MarineMax, Inc., which

   is a publicly-held company. MarineMax, Inc. has no parent corporation and is unaware of any

   individual or entity that owns ten percent (10%) or more of its common stock.

   Dated: July 18, 2024                                Respectfully submitted,

                                                       By: /s/ Christina M. Paul

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                                                       Counsel for Defendants Northrop &
                                                       Johnson Yachts-Ships, LLC, Galati Yacht
                                                       Sales, LLC, MarineMax, Inc., MarineMax
                                                       East, Inc., Fraser Yachts Florida, Inc., and
                                                       Fraser Yachts California Corporation

                                  CERTIFICATE OF SERVICE

          I HEREBY CERTIFY that a true and correct copy of the foregoing was served to all

   counsel of record via the CM/ECF portal on this 18th day of July, 2024.

                                                        /s/ Christina M. Paul



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